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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


  SMARTMATIC USA CORP.,                              Case No. 22-CV-98 (JMB/JFD)
  SMARTMATIC INTERNATIONAL
  HOLDING B.V., and SGO
  CORPORATION LIMITED,

                        Plaintiffs,

  v.                                                             ORDER

  MICHAEL J. LINDELL and MY
  PILLOW, INC.,

                        Defendants.



       This matter is before the Court on Plaintiffs’ Fourth Motion to Compel Discovery

(Dkt. No. 343). Defendants did not respond to the motion. The Court therefore canceled

the motion hearing and considered the matter submitted on the papers. (See Text-Only

Order, Sept. 9, 2024, Dkt. No. 363.)

       Plaintiffs seek an order compelling Defendants to produce all non-public materials

and data on which Defendants’ experts Peter Kent and Benjamin R. Cotton relied in

reaching their expert opinions. In particular, Plaintiffs ask for the production of certain

spreadsheets cited by Mr. Kent in his report and the forensic inspections cited by Mr.

Cotton in his report.

       Federal Rule of Civil Procedure 26(a)(2)(B)(ii) and (jjj) require an expert report to

contain “the facts and data considered by the witness in forming [the opinions]” and “any


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exhibits that will be used to summarize or support them.” The Court finds that the materials

requested by Plaintiffs should be produced and therefore orders Defendants to produce all

the data and materials considered by their experts in forming their opinions in this case,

including but not limited to the spreadsheets cited by Mr. Kent in his report and the forensic

inspections cited by Mr. Cotton in his report. Defendants must produce the materials within

14 days. The Court denies the aspect of Plaintiffs’ motion, however, seeking to pre-

emptively preclude expert testimony.



       Accordingly, based on all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Plaintiffs’ Fourth Motion to Compel Discovery (Dkt. No. 343)

is GRANTED in part and DENIED in part as set forth above.



 Date: September 26, 2024                           /s/ John F. Docherty
                                                    JOHN F. DOCHERTY
                                                    United States Magistrate Judge




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